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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                               SOUTH BEND DIVISION

 JOHNNY RAY JENKINS,

                      Plaintiff,

                      v.                         CAUSE NO.: 3:19-CV-675-DRL-MGG

 HYATTE, HAWK, HAMRICK, ANGLE,
 DICE, NEIL, BARKUS, and McCULLUM,

                     Defendants.

                                         ORDER

       The defendants, by counsel, filed a notice of automatic initial extension of time. It

correctly states N.D. Ind. L.R. 6-1 permits automatic initial extensions in some

circumstances. It correctly states Johnny Ray Jenkins is an unrepresented prisoner.

However, it does not note that N.D. Ind. L.R. 6-1(c) provides that automatic

enlargements of time are not available in cases with a pro se party. See also N.D. Ind.

L.R. 6-1(b)(3)(C) (Notice of automatic enlargements of time require attempting to

contact opposing attorneys which is impossible in a case with a pro se party.).

       Therefore the defendants must file a motion to enlarge this deadline. Though the

court could construe the notice as a motion, it does not provide any basis for why they

have been unable to prepare a response during the 60 days since the Notice of Lawsuit

was issued.

       For these reasons, the parties are ALERTED the notice did not enlarge the

deadline to file an answer.
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      SO ORDERED this November 5, 2019.


                                              s/Michael G. Gotsch, Sr.
                                              Michael G. Gotsch, Sr.
                                              United States Magistrate Judge




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